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                 UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF MICHIGAN
                           MINUTES

   Case Number                Date                  Time                Judge

    1:16-cv-01094           5/10/2018        2:54 - 3:43 PM         Phillip J. Green

                             CASE CAPTION

                             Gamrat v. Cline et al

                             APPEARANCES
    Attorney:                                       Representing:
Tyler Ernest Osburn                     Plaintiff


Mark Dundon                             Defendant Joshua Cline

Brian E. Weiss                          Defendant Joseph Gamrat

Pro Per                                 Defendant David Horr
(By Telephone)

                             PROCEEDINGS

NATURE OF HEARING:

Rule 16 Scheduling Conference held; CMO to issue.




                       Proceedings Digitally Recorded
                         Deputy Clerk: A. Doezema
